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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

THE STATE OF TEXAS and
KEN PAXTON, in his official capacity as
Attorney General of Texas,

               Plaintiffs,

v.                                                      CIVIL ACTION NO. 2:24-cv-00240-Z

MERRICK GARLAND, in his official capacity
as Attorney General of the United States, and
DEPARTMENT OF JUSTICE,

               Defendants.


                                   JOINT MOTION TO DISMISS


       Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiffs, the State of Texas

and Ken Paxton, in his official capacity as Attorney General of Texas, and Defendants, Merrick

Garland, in his official capacity as Attorney General of the United States, and the Department of

Justice (collectively the “Parties”), submit this Joint Motion to Dismiss with prejudice and

without costs, all claims by Plaintiff in the above-referenced case.

                                             PRAYER

       After due consideration, the Parties have agreed and respectfully request that all claims in

this case should be dismissed with prejudice and without costs or fees, and that the Court enter the

attached Agreed Order of Dismissal.




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Date: August 12, 2024                              Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

        Pursuant to Federal Rule of Civil Procedure 5(a), I hereby certify that on January 24, 2025,
a true and correct copy of the above and foregoing document has been served using the CM/ECF
system to all counsel and parties of record.

                                                     /s/ Zachary L. Rhines
                                                     ZACHARY L. RHINES
                                                     Special Counsel




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